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 7   Attorney for Carl Dewain Jefferson

 8                               UNITED STATES DISTRICT COURT

 9                                     DISTRICT OF NEVADA

10   UNITED STATES OF AMERICA,                              Case No. 2:20-CR-00011-JCM-NJK
                                                            ORDER GRANTING
11                  Plaintiff,                              UNOPPOSED MOTION FOR
                                                            PREPARATION OF PRE-PLEA
12          v.
                                                            PRESENTENCE REPORT (PSR)
13   CARL DEWAIN JEFFERSON,

14                  Defendants.

15
16          Defendant Carl Dewain Jefferson requests the Court enter an order directing the United
17   States Department of Probation to prepare a Pre-Plea Presentence Investigation Report (PSR)
18   to determine the defendant’s Criminal History. The government does not oppose this request.
19          On January 22, 2020, Mr. Jefferson was charged in a two-count indictment with Use of
20   Unauthorized Access Devices, in violation of 18 U.S.C. § 1029(a), and Aggravated Identity
21   Theft, in violation of 18 U.S.C. § 1028A(a)(1). The parties are attempting to negotiate this
22   case. The parties believe that they may be able to resolve this case short of trial. Based on
23   defense counsel’s review of Mr. Jefferson’s criminal record, there appear to be a number of
24   issues with respect to how his prior convictions will be counted. To satisfy Mr. Jefferson’s
25   concerns and to assure that he has the information he needs to make a truly knowing and
26   intelligent decision, as to whether to accept or reject a plea offer, he has requested that a Pre-
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 1   Plea Presentence Investigation Report be completed so that he understands how Probation will
 2   calculate his Criminal History Points and corresponding category. Defense counsel has spoken
 3   with AUSA Jamie Mickelson and she does not oppose this motion.
 4                                                Conclusion
 5          Mr. Jefferson respectfully requests the Court order the United States Department of
 6   Probation to prepare a Pre-Plea Presentence Investigation Report to determine his Criminal
 7   History Points and corresponding Criminal History Category.
 8
            DATED this 15th day of July, 2020.
 9
                                                    RENE L. VALLADARES
10                                                  Federal Public Defender
11
                                              By: /s/ Kathryn C. Newman
12                                                KATHRYN C. NEWMAN
                                                  Assistant Federal Public Defender
13                                                Attorney for Carl Dewain Jefferson
14
15
                                       [PROPOSED] ORDER
16
17          IT IS HEREBY ORDERED, based on the foregoing motion, and good cause
     appearing, that the United States Department of Probation for the District of Nevada shall
18   prepare a Pre-Plea Presentence Investigation Report (PSR) with respect to Defendant Carl
     Dewain Jefferson’s Criminal History Points and Criminal History Category.
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21                                               _________________________________
22                                               UNITED STATES MAGISTRATE JUDGE
                                                       UNITED STATES DISTRICT JUDGE
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